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                         EXHIBIT 9
 Case 1:22-cv-10904-JSR Document 187-9 Filed 06/15/23 Page 2 of 5
   8JMMJBN-BOHGPSE$POGJEFOUJBM"UUPSOFZTh&ZFT0OMZ

   */5)&6/*5&%45"5&4%*453*$5$0635
     '035)&4065)&3/%*453*$50'/&8:03,

     (07&3/.&/50'5)&
   6/*5&%45"5&47*3(*/
     *4-"/%4 $"4&/0
   $7
     1MBJOUJGG +43
   
     W
   
     +1.03("/$)"4&#"/, 
   /" 
     
   %FGFOEBOU5IJSE1BSUZ
     1MBJOUJGG
   @@@@@@@@@@@@@@@@@@@@@@
     +1.03("/$)"4&#"/, 
   /" 
     
   5IJSE1BSUZ1MBJOUJGG 
     
   W
     
   +".&4&%8"3%45"-&: 
     
   5IJSE1BSUZ%FGFOEBOU
   $0/'*%&/5*"-"5503/&:4h&:&40/-:
     
   .BZ 
     

     7JEFPUBQFEEFQPTJUJPO
   PG8*--*".%-"/('03% UBLFOQVSTVBOUUP
     OPUJDF XBTIFMEBUUIFMBXPGGJDFTPG
   #PJFT4DIJMMFS'MFYOFS--1 )VETPO
     :BSET /FX:PSL /FX:PSL BOESFNPUFMZ
   CFHJOOJOHBUBN POUIFBCPWF
     EBUF CFGPSF.JDIFMMF-(SBZ B
   3FHJTUFSFE1SPGFTTJPOBM3FQPSUFS
     $FSUJGJFE4IPSUIBOE3FQPSUFS $FSUJGJFE
   3FBMUJNF3FQPSUFS BOE/PUBSZ1VCMJD
   (0-,08-*5*("5*0/4&37*$&4
     QI]
   EFQT!HPMLPXDPN

(PMLPX-JUJHBUJPO4FSWJDFT                                   1BHF
 Case 1:22-cv-10904-JSR Document 187-9 Filed 06/15/23 Page 3 of 5
   8JMMJBN-BOHGPSE$POGJEFOUJBM"UUPSOFZTh&ZFT0OMZ

   4IFFYQSFTTFTTVSQSJTFUIBU
   UIFSFIBTOhUCFFOBTVCQPFOB DPSSFDU
   *hNJOUIFGJSTUQBSBHSBQI
   "4IFGJOETPEEZFBI TIF
   GJOETPEE
   20LBZ"OEUIFOBMTPOPUFT
   UIBUUIFSFIBECFFOBTVCQPFOBTPNFUJNF
   BHPUP#FBS4UFBSOT DPSSFDU
   ":FT
   2"OEUIFOTIFBOTXFSTUIBU
   RVFTUJPOBCPVUXIZUIJTDBNFVQSFDFOUMZ
   "OETIFTBJEUIBUIJTBDDPVOUFEBMFSUFE
   JO'PSUFOUGPSDBTIBDUJWJUZ XIJDIJU
   EPFTGSPNUJNFUPUJNF
   $PSSFDU
   .3("*-0CKFDUJPO
   5)&8*5/&444PSSZ SFQFBU
   UIBURVFTUJPO
   #:.44*/(&3
   24P*hNBTLJOHTIF
   SFTQPOEFEUPZPVSRVFTUJPOBCPVUXIZUIJT
   DBNFVQCZFYQMBJOJOHUIBUUIFSFIBECFFO
   B'PSUFOUBMFSUGPSDBTIBDUJWJUZ
   DPSSFDU

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 Case 1:22-cv-10904-JSR Document 187-9 Filed 06/15/23 Page 4 of 5
   8JMMJBN-BOHGPSE$POGJEFOUJBM"UUPSOFZTh&ZFT0OMZ

   5JNFT -BOEPO5IPNBTSFQPSUFEUIBU
   &QTUFJODIBSHFTBGMBUGFFPOUIFBTTFUT
   FOUSVTUFEUPIJN BOZXIFSFGSPN
   NJMMJPOUPNJMMJPO CVUEPFTOhU
   DPMMFDUBOZQPSUJPOPGUIFQSPGJUT5IJT
   JTPEEMZSFNJOJTDFOUPG#FSOJF.BEPGGhT
   DPNQFOTBUJPOTDIFNF
   )BWF*SFBEUIBUDPSSFDUMZ
   ":FT
   2"OEUIFOGJOBMMZIFTBZT JO
   UIFCPUUPNQBSBHSBQI 8FEPLOPXIPXFWFS
   UIBU&QTUFJOBDUVBMMZIBTJOWFTUFENPOFZ
   XJUICPUI$JUJHSPVQBOE#FBS4UFBSOT
   PI *hNTPSSZ%BEBEB
   5VSOJOHUIFQBHF0OUIF
   PUIFSIBOE UIFSFXFSFOPUIFSFBSF
   OP4&$GJMJOHTEJTDMPTJOH&QTUFJOhT
   IPMEJOH/PUPOF*UJTIBSEUPTFFIPX
   IFDPVMECFNBOBHJOHCJMMJPOTXJUIPVU
   FWFSUSJQQJOHBEJTDMPTVSFUSJHHFS
   VOMFTTIFBWPJETUIFTUPDLNBSLFU
   BMUPHFUIFSBOEPOMZJOWFTUTJOQSJWBUF
   EFBMT5IJTJTBOPUIFSSFEGMBH
   )BWF*SFBEUIBUDPSSFDUMZ

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 Case 1:22-cv-10904-JSR Document 187-9 Filed 06/15/23 Page 5 of 5
   8JMMJBN-BOHGPSE$POGJEFOUJBM"UUPSOFZTh&ZFT0OMZ

   ":FT
   2"OEIFDPODMVEFT 8FIBWF
   OPDPODSFUFFWJEFODFUIBU&QTUFJOJT
   SVOOJOHBTDBN#VUHJWFOUIFSFEGMBHT
   BOEUIFGBDUUIBUIFSFQPSUFEMZDPOUSPMT
   CJMMJPOTPGEPMMBST JTOhUUIBUTPNFUIJOH
   XPSUIMPPLJOHJOUP 
   )BWF*SFBEUIBUDPSSFDUMZ
   ":FT
   2%PZPVLOPXJG FJUIFS
   CFGPSFPSBGUFSUIJTBSUJDMFPS.BSZBOOF
   3ZBOhTFNBJM +1.PSHBOFWFSMPPLFEJOUP
   &QTUFJOhTCVTJOFTTBDUJWJUJFT
   "*EPOhULOPXBCPVU
   TQFDJGJDBMMZDPNJOHGSPNUIJT
   QFSTQFDUJWF OP
   2"OEEPZPVEPZPVBSF
   ZPVBXBSFPGXIFUIFSUIFSFXBTFWFSBOZ
   JOWFTUJHBUJPOCZ+1.PSHBOPGXIBU+FGGSFZ
   &QTUFJOhTCVTJOFTTXBTPSXIPIJTDMJFOUT
   XFSF
   "*EPOhULOPX
   2%JEZPVFWFSIFBSUIBUUIFSF
   XBTTVDIBOJOWFTUJHBUJPO

(PMLPX-JUJHBUJPO4FSWJDFT                                 1BHF
